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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 Shenzhen Aji Fashion Technology Co. Ltd.,                       )
                                                                 )
                                                Plaintiff,       ) Case No. 1:23-cv-14043
                                                                 )
                                                                 )
 WhaleCo Inc., OYIJIA, ALUBO, Necoo,            v.               )
 OversizeLAPA                                                    )
                                                Defendants.      )

                                             Complaint

NOW COMES Shenzhen Aji Fashion Technology Co. Ltd. (“Plaintiff”), by and through its

undersigned counsel at AU LLC and hereby brings this action against WhaleCo Inc. d/b/a

Temu.com, OYIJIA, ALUBO, Necoo, and OversizeLAPA (“Defendants”) and alleges as follows:

                                            Introduction

1. This action is filed to combat Defendants’ willful trademark infringement, copyright

   infringement, and unfair trade practices against Plaintiff and its online e-commerce clothing

   business.

                                               Parties

2. Plaintiff Shenzhen Aji Fashion Technology Co. Ltd. is a Chinese business operating through its

   retail e-commerce website Rosegal.com.

3. Defendant WhaleCo Inc. (“WhaleCo”) is a Delaware corporation that conducts business

   throughout the United States including within the State of Illinois and this Judicial District,

   through its product sales operation on the Temu.com marketplace.

4. Defendant OYIJIA is an individual or entity acting in concert with WhaleCo on Temu.com

   marketplace.




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5. Defendant ALUBO is an individual or entity acting in concert with WhaleCo on the Temu.com

   marketplace.

6. Defendant Necoo is an individual or entity acting in concert with WhaleCo on the Temu.com

   marketplace.

7. Defendant OversizeLAPA is an individual or entity acting in concert with WhaleCo on the

   Temu.com marketplace.

                                      Jurisdiction and Venue

8. This Court has original subject matter jurisdiction over the claims in this action pursuant to 15

   U.S.C. § 1051, 17 U.S.C. § 101, and 28 U.S.C. §§ 1331, 1338(a)-(b).

9. This Court has jurisdiction over the claims herein arising under the laws of the State of Illinois

   pursuant to 28 U.S.C. § 1367(a), because the state law claims are so related to the federal claims

   that they form part of the same case or controversy and derive from a common nucleus of

   operative facts.

10. Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may properly exercise

   personal jurisdiction over Defendants because Defendants directly target their business activities

   toward consumers in Illinois and this Judicial District. Specifically, Defendants shipped at least

   one Infringing Product to residents of Illinois and on information and belief, have shipped

   numerous Infringing Products to this State and Judicial District. Further, Defendants operate a

   commercial, fully-interactive online marketplace through which residents of Illinois and this

   Judicial District can purchase products being offered and sold under spurious versions of

   Plaintiff’s trademark. Defendants have targeted sales from residents of Illinois and this Judicial

   District by selling the Infringing Product directly on its marketplace and offers shipping to

   addresses within Illinois and this Judicial District. Defendants have committed tortious acts in




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    Illinois and this Judicial District, is engaging in interstate commerce, and has wrongfully caused

    Plaintiff substantial injury in the State of Illinois

                                            Plaintiff’s Business

11. Since 2013, Plaintiff has been engaged in the design, distribution, and sale of various clothing

    items and accessories (collectively, the “Plaintiff Products”) on an international basis, including

    within the United States.

12. Plaintiff uses its trademark in connection with the marketing of its products and owns U.S.

    trademark registrations, as set forth below (the “Mark”):

      Reg.             Mark                                Goods and Services
     5631377                            Tops as clothing; Swimwear; Dresses; Bottoms as clothing;
                                        Coats; Underwear; Athletic tights; Leggings; Bathing suits;
                                         Sweaters; Polo shirts; Sweat shirts; Jeans; Jogging pants;
                                                              Shorts. IC 025

13. True and correct copies U.S. trademark certificates for the Mark and assignments in toto are

    attached hereto as Exhibit 1.

14. Plaintiff has spent considerable resources growing and protecting its brand.

15. Plaintiff is the owner of all rights, title and interest in and to the Mark.

16. The Mark is recognized and valuable assets of Plaintiff.

17. The Mark have been continuously used in U.S. interstate commerce in connection with the sale,

    distribution, promotion, and advertising of genuine Plaintiff Products since as least as early as

    February 2016.

18. Genuine Plaintiff Products have become popular, driven by Plaintiff’s elevated quality standards

    and innovative designs. Genuine Plaintiff Products are recognizable among the consuming

    public and the Mark identifies, in the United States and around the world, high-quality personal

    care products offered by Plaintiff.




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19. Genuine Plaintiff Products have been distributed, promoted, and sold on Plaintiff’s website

    http://www.rosegal.com




    and through selected licensed dealers.1 Plaintiff’s sales of Plaintiff Products have been

    significant.

20. As a result of Plaintiff’s use of its Mark in association with its high-quality products, extensive

    sales, and significant marketing activities, the Mark has achieved recognition among the

    consuming public and throughout U.S. interstate commerce.

21. The Plaintiff Mark is exclusive to Plaintiff and its licensees and appears clearly on all Plaintiff

    Product packaging and related advertisements. Plaintiff has expended substantial time, money,

    and other resources to develop, advertise, promote, and protect the Mark. Accordingly,

    products bearing the Mark is widely recognized and exclusively associated by the consuming

    public and the industry as being high-quality personal products sourced from Plaintiff.

22. The Mark is distinctive when used in association with the sale of Plaintiff’s products, signifying

    to the purchaser that the products come exclusively from Plaintiff and are made to Plaintiff’s

    material specification.


1 Genuine Plaintiff Products are sold on the Temu.com marketplace by Plaintiff’s licensees Routlets (Temu

ID 2761281641544), Plusgoth (Temu ID 4034089557379), Ajidesign (Temu ID 5244982071263), and Rosegal
Fashion (Temu ID 305632932706) (collectively, “Plaintiff Licensees”).


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23. Plaintiff additionally produces its own marketing materials, including product photos, which it

    uses to sell its products, including series of the following images (collectively, the “Plaintiff

    Works”). Copies of each of Group A, B, C, and D photos are attached hereto as Exhibit 2.




                      2                           3                          4                           5

        Group A                    Group B                    Group C                    Group D

24. The Plaintiff Works include watermarks of the Mark, covered under Plaintiff Marks’ federal

    trademark registrations. Exhibit 2.

25. Plaintiff owns all right, title, and interest in and to the Plaintiff Works, including without

    limitation, the rights to reproduce the Plaintiff Works in copies, to prepare derivative works

    based upon the Plaintiff Works, to distribute copies of the Plaintiff Works to the public by sale

    or other transfer of ownership, or by rental, lease, or lending, and to display the Plaintiff Works

    publicly. Plaintiff copyrights in Plaintiff Works are enforceable in the United States under the

    Berne Convention for the Protection of Literary and Artistic Works.

                                   Doing Business on Temu.com




2 https://www.rosegal.com/plus-size-leggings/plus-size-high-waist-floral-print-3d-jeggings-g_7740543.html
3 https://www.rosegal.com/plus-size-pants/plus-size-hanky-paisley-printed-pull-on-wide-leg-pants-

g_7740380.html
4 https://www.rosegal.com/plus-size-leggings/skinny-american-flag-3d-capri-plus-size-jeggings-

g_7771502.html
5 https://www.rosegal.com/plus-size-tank-tops/plus-size-curve-lace-up-american-flag-sunflower-print-tank-

top-g_7771124.html


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26. Defendant WhaleCo operates the website Temu.com, which purports to be a marketplace

    offering a wide variety of discounted products. All users of Temu.com, including seller partners,

    enter into the Temu.com Terms of Use agreement.

27. An individual seller partner may register an account with WhaleCo, subject to the Seller Services

    Agreement, and agree to source and supply WhaleCo with products. The seller partner may also

    provide WhaleCo with written descriptions for the products and media.

28. WhaleCo ultimately determines the retail price at which a seller partner’s products will be sold

    and where the products will be sold.

29. WhaleCo ultimately determines which media is displayed on a seller partner’s product listing on

    Temu.com

30. WhaleCo processes retail payments for products offered by a seller partner on the Temu.com

    platform and remits to the seller partner a lower wholesale price for each transaction. In this

    way, WhaleCo earns money from the sale of a seller partner’s products on the Temu.com

    platform. In this way, WhaleCo, effectively, sells products suggested to it by its seller partners.

                                     Defendants’ Unlawful Acts

31. In June 2023, Plaintiff discovered that unauthorized listings for certain Plaintiff Products -

    leggings illustrated in Plaintiff Works Group A - appeared on Temu.com, specifically on the

    seller partner “storefront” of Defendant OYIJIA,6 albeit with the Plaintiff’s watermarks

    removed but with the Mark digitally re-placed onto the leg portions of the photos. A true and

    correct copy of the infringing listing is attached hereto as Exhibit 3.

32. On June 2, 2023, Plaintiff provided an infringement notice to Defendant WhaleCo, requesting

    that the listing be removed as a result of its infringement of Plaintiff’s copyright in the photos



6 https://www.temu.com/plus-size-casual-leggings-womens-plus-floral-denim-print-stretchy-skinny-leggings-

g-601099514079328.html


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    and trademark that appeared in the photos. Defendant WhaleCo did not comply with the

    request, despite the red flag knowledge it then had regarding Plaintiff’s copyright infringement

    claims regarding Plaintiff Works Group A. A true and correct copy of the exchange is attached

    hereto as Exhibit 4.

33. Later in June 2023, Plaintiff discovered that additional unauthorized listings for certain Plaintiff

    Products - items illustrated in Plaintiff Works Groups B, C, and D - appeared on Temu.com,

    specifically on the seller partner “storefronts” of Defendants Necoo,7 OversizeLAPA8, and

    Alubo,9 respectively, albeit again with Plaintiff’s watermarks removed, albeit with the Mark

    digitally re-placed on parts of the clothing items in the photos. True and correct copies of these

    infringing listings are attached hereto as Exhibits 5, 6, and 7.

34. On June 28, 2023, Plaintiff sent a notice of these infringing listings to Defendant WhaleCo.

    which again did not result in the infringing listings being taken down, despite the red flag

    knowledge it then had regarding Plaintiff’s copyright infringement claims regarding Plaintiff

    Works Groups B, C, and D. Exhibit 8.

35. Instead, on or about July 6, 2023, Defendant WhaleCo caused to be deactivated the Temu

    accounts of the Plaintiff Licensees, which remain deactivated.

36. Defendant WhaleCo., acting in concert with seller partners OYIJIA, Alubo, Necoo,

    OversizeLAPA (the “Store Defendants”), without authorization, reproduced and caused to be

    displayed the Plaintiff Works and/or derivative works thereof.




7 https://www.temu.com/plus-size-casual-pants-womens-plus-allover-paisley-print-medium-stretch-wide-leg-

pants-g-601099516291302.html
8 https://www.temu.com/plus-size-casual-pants-womens-plus-denim-flag-print-high-rise-skinny-high-stretch-

capri-leggings-g-601099516552813.html
9 https://www.temu.com/plus-size-casual-outfits-set-womens-plus-flag-sunflower-print-cami-top-capri-

leggings-2pcs-outfits-set-g-601099515180341.html


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37. Defendant WhaleCo, acting in concert with the Store Defendants, used to Mark to offer to sell

    clothing products, and controlled and benefitted from the infringement of Plaintiff Works

    Groups A, B, C, and D.

38. Defendants’ unauthorized use of the Mark in connection with the advertising, distribution,

    offering for sale, and sale of Infringing Products, including with respect to the sale of such

    products into the United States, including specifically Illinois and this Judicial District, is likely to

    cause and has caused confusion, mistake, and deception by and among consumers and is

    harming Plaintiff.

            Count I - Trademark Infringement and Counterfeiting (15 U.S.C. § 1114)

                                             (All Defendants)

39. Plaintiff repeats, re-alleges, and incorporates by reference the allegations set forth in Paragraphs

    1 through 38.

40. Plaintiff’s trademark infringement claims against Defendants are based on their unauthorized use

    in commerce of counterfeit imitations of the federally-registered Plaintiff Mark in connection

    with the advertising, distribution, offering for sale, and sale of Infringing Products, namely,

    clothing of the types covered under Plaintiff’s Mark’s registration in IC 25.

41. The Plaintiff Mark is distinctive, and consumers have come to expect superior quality from

    Plaintiff Products and retail services advertised, distributed, offered, or sold under the Mark.

42. Defendants have advertised, distributed, offered to sell, sold, and will likely continue advertising,

    distributing, offering to sell, and selling products using counterfeit reproductions of the Mark

    without Plaintiff’s permission.

43. Plaintiff is the exclusive owner of the Mark.

44. Plaintiff’s registrations for the Plaintiff Mark is in full force and effect.




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45. Upon information and belief, Defendants are aware and have knowledge of Plaintiff’s rights in

    the Plaintiff Marks and are willfully infringing it and intentionally using counterfeit

    reproductions thereof.

46. Defendant’s willful, intentional, and unauthorized use of the Mark is likely to cause and is

    causing confusion, mistake, and deception as to the origin and quality of the Infringing Products

    among the general public.

47. Defendants’ activities constitute willful trademark infringement and counterfeiting under 15

    U.S.C. § 1114, 1116(d)(1)(B)(i).

48. Plaintiff has no adequate remedy at all and will suffer irreparable harm to its reputation and

    goodwill of its well-known Mark if Defendants’ actions are not enjoined.

49. Defendants’ wrongful advertisement, offering to sell, and sale of Infringing Products have

    directly and proximately caused injuries and damage to Plaintiff.

                    Count II - False Designation of Origin, Passing Off, and

                             Unfair Competition (15 U.S.C. § 1125(a))

                                           (All Defendants)

50. Plaintiff repeats, re-alleges, and incorporates by reference the allegations set forth in Paragraphs

    1 through 49.

51. The Mark is a distinctive trademark.

52. Defendant’s advertising, distribution, offering for sale, and sale of Infringing Products has

    created and is creating a likelihood of confusion, mistake, and deception among the general

    public as to the affiliation, connection, and/or association with Plaintiff or the origin,

    sponsorship, or approval of Defendant’s Infringing Products by Plaintiff.




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53. By using the Mark in association with the advertising, distribution, offering for sale, and sale of

    the Infringing Products, Defendants create a false designation of origin and a misleading

    representation of fact as to the true origin and sponsorship of the Infringing Products.

54. Defendants’ false designation of origin and misrepresentation of fact as to the origin and/or

    sponsorship of the Infringing Products to the general public involves the willful use of spurious

    marks and is a willful violation of 15 U.S.C. § 1125(a).

55. Plaintiff has no adequate remedy at all and will suffer irreparable harm to its reputation and

    goodwill of its well-known Mark if Defendants’ actions are not enjoined.

Count III - Violation of the Uniform Deceptive Trade Practices Act (815 ILCS § 510, et seq.)

                                           (All Defendants)

56. Plaintiff repeats, re-alleges, and incorporates by reference the allegations set forth in Paragraphs

    1 through 55.

57. Defendants have engaged in acts which violate Illinois law including, without limitation: passing

    off their Infringing Products as those of Plaintiff; cause a likelihood of confusion and/or

    misunderstanding as to the source of their goods; causing a likelihood of confusion and/or

    misunderstanding as to the affiliation, connection, or association with genuine Plaintiff Products;

    representing that their products have Plaintiff’s approval when they do not; and engaging in

    other conduct as described herein which creates a likelihood of confusion or misunderstanding

    among the public.

58. Defendants’ foregoing acts constitute willful violations of the Illinois Uniform Deceptive

    Trademark Practices Act, 815 ILCS § 510, et seq.

59. Plaintiff has no adequate remedy at all and will suffer irreparable harm to its reputation and

    goodwill of its well-known Mark if Defendants’ actions are not enjoined.

          Count IV - Contributory Trademark Infringement and Unfair Competition



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                                        (Defendant WhaleCo)

60. Plaintiff repeats, re-alleges, and incorporates by reference the allegations set forth in Paragraphs

    1 - 59.

61. Defendant WhaleCo actively and intentionally encouraged and induced the Store Defendants to

    infringe the Mark when WhaleCo provided the Store Defendants the ability, via the Temu.com

    platform, to provide the Plaintiff Works - containing the Mark - to Defendant WhaleCo to sell

    the Store Defendants’ Infringing Products, and then ultimately approved the Store Defendants’

    use of the Mark to sell Infringing Products.

62. Defendant WhaleCo is contributorily liable for the Store Defendants’ direct infringement of the

    Mark which is also likely to cause confusion, mistake or deception in violation of the 15 U.S.C. §

    1114, 15 U.S.C. § 1125(a), and 815 ILCS §510/2 (2) and (3).

63. Defendant WhaleCo’s contributory infringement of the Mark has resulted in actual and probably

    injury to Plaintiff.

64. Plaintiff has no adequate remedy at all and will suffer irreparable harm to its reputation and

    goodwill of its well-known Mark if Defendant’s WhaleCo’s actions are not enjoined.

                           Count V - Vicarious Trademark Infringement

                                        (Defendant WhaleCo)

65. Plaintiff repeats, re-alleges, and incorporates by reference the allegations set forth in Paragraphs

    1 - 59.

66. Defendant WhaleCo, through entering into a Terms of Service agreement and Seller Services

    Agreement with the Store Defendants, intentionally registered the Store Defendants and allowed

    them to establish merchant accounts on the Temu.com platform through which the Store

    Defendants offered to sell, without Plaitniff’s authorization, Infringing Products by using the

    Mark.



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67. At all relevant times, Defendant WhaleCo, at least through the Terms of Service agreement and

    Seller Services Agreement, had the right and ability to supervise the Store Defendants’ infringing

    conduct.

68. Pursuant to the Terms of Use and Seller Services Agreement, Defendant WhaleCo was bound to

    process payment transactions for the Seller Defendants’ Infringing Products.

69. WhaleCo facilitated, encouraged, promoted, allowed, enabled, and otherwise permitted the direct

    infringements of the Store Defendants, and other illegal conduct alleged herein, in the course of

    WhaleCo’s businesses.

70. WhaleCo profited from the Store Defendants’ sales of Infringing Products on the Temu.com

    platform including through helping to process payment transactions for the Infringing Products.

71. WhaleCo’s vicarious infringement of the Mark has resulted in actual and probably injury to

    Plaintiff.

72. Plaintiff has no adequate remedy at all and will suffer irreparable harm to its reputation and

    goodwill of its well-known Mark if Defendant’s WhaleCo’s actions are not enjoined.

                                Count VI - Copyright Infringement

                                           (All Defendants)

73. Plaintiff repeats, re-alleges, and incorporates by reference the allegations set forth in Paragraphs

    1 - 38.

74. Plaintiff is the owner of the original Plaintiff Works contained in Exhibit 1.

75. The Plaintiff Works are protected under the Berne Convention for the Protection of Literary

    and Artistic Works and the U.S. Copyright Act, 17 U.S.C. § 104 et seq.

76. Upon information and belief, Defendants had access to the Plaintiff Works in Exhibit 1 through

    viewing Plaintiff’s sale of its genuine Plaintiff Products which were advertised and sold in

    association with the Plaintiff Work on Rosegal.com. After accessing the Plaintiff Works,



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    Defendants wrongfully created copies of the Plaintiff Works without Plaintiff’s consent and

    engaged in acts of widespread infringement through the creation and reproduction of images

    containing the Plaintiff Work, posting the images and videos via online websites and digital

    markets, and the sale of clothing product listings using the Plaintiff Work without authorization.

77. Each Defendant, without the permission or consent of the Plaintiff, has offered to sell,

    marketed, distributed, advertised, sold and continues to sell online products in connection with

    the Plaintiff Works and reproduce, display, and distribute the Plaintiff Work without

    authorization and in violation of Plaintiff’s exclusive rights under 17 U.S.C. § 106.

78. As a direct result of their acts of copyright infringement, Defendants have obtained direct and

    indirect profits they would not otherwise have realized but for their infringement of the

    copyrighted Plaintiff Work.

79. Defendants knew their acts constituted copyright infringement and Defendants’ conduct was

    willful within the meaning of the Copyright Act.

80. Defendant WhaleCo, specifically, failed to expeditiously react remove the infringing versions of

    Plaintiff Works Groups A, B, C, and D, ignored the red flags raised by Plaintiff in its

    notifications of those infringements, and controlled and benefitted from the infringing activity.

81. As a result of their wrongful conduct, Defendants are liable to Plaintiff for copyright

    infringement pursuant to 17 U.S.C. § 501.

82. Plaintiff has suffered, and will continue to suffer, substantial losses, including but not limited to

    damage to its business reputation and goodwill.

83. Plaintiff is entitled to recover damages, which include its losses and any and all profits

    Defendants have made as a result of its wrongful conduct.

                          Count VII - Vicarious Copyright Infringement

                                        (Defendant WhaleCo)



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84. Plaintiff repeats, re-alleges, and incorporates by reference the allegations set forth in Paragraphs

    1 - 38.

85. Defendant WhaleCo, through entering into a Terms of Service agreement and Seller Services

    Agreement with the Store Defendants, intentionally registered the Store Defendants and allowed

    them to establish merchant accounts on the Temu.com platform through which the Store

    Defendants offered to sell, without Plaintiff’s authorization, Infringing Products by uploading

    and displaying the Plaintiff Works.

86. At all relevant times, Defendant WhaleCo, at least through the Terms of Service agreement and

    Seller Services Agreement, had the right and ability to supervise the Store Defendants’ infringing

    conduct.

87. Pursuant to the Terms of Use and Seller Services Agreement, Defendant WhaleCo was bound to

    process payment transactions for the Seller Defendants’ Infringing Products.

88. WhaleCo facilitated, encouraged, promoted, allowed, enabled, and otherwise permitted the direct

    infringements of the Store Defendants, and other illegal conduct alleged herein, in the course of

    WhaleCo’s businesses.

89. WhaleCo profited from the Store Defendants’ sales of Infringing Products on the Temu.com

    platform including through helping to process payment transactions for the Infringing Products.

90. WhaleCo’s vicarious infringement of the Plaintiff Works has resulted in actual and probably

    injury to Plaintiff.

    Count VIII - Digital Millennium Copyright Act (DMCA) Violations, 17 U.S.C. § 1202

                                          (Store Defendants)

91. Plaintiff repeats, re-alleges, and incorporates by reference the allegations set forth in Paragraphs

    1 - 38.

92. Plaintiff is the owner of the original Plaintiff Works contained in Exhibit 1.



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93. The Plaintiff Works are protected under the Berne Convention for the Protection of Literary

    and Artistic Works and the U.S. Copyright Act, 17 U.S.C. § 104 et seq.

94. Each of the Plaintiff Works includes a watermark of Plaintiff’s Mark, to which it has exclusive

    rights, that identifies Plaintiff and is copyright management information under 17 U.S.C. § 1202.

95. Plaintiff used software to add the watermarks to each of the Plaintiff Works.

96. Defendants, without authority, intentionally removed from or altered copyright management

    information in the Plaintiff Works.

97. Defendants, without authority, distributed and displayed copies of the Plaintiff Works knowing

    that the copyright management information had been removed from or altered in the copies.

98. Defendants knew, or had reasonable grounds to know, that their actions would induce, enable,

    facilitate, or conceal an infringement of Plaintiff’s exclusive rights in the Plaintiff Works.

99. Defendants should pay statutory damages, attorneys fees, and costs for each of their willful

    violations of the DMCA, 17 U.S.C. § 1202(a).

                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff, Shenzhen Aji Fashion Technology Co. Ltd., prays for judgment against

Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

    and all persons acting for, with, by, through, under, or in concert with them be enjoined and

    restrained from:

        a. using the Mark or Plaintiff Works or any reproductions, counterfeit copies, derivatives,

            or colorable imitations thereof in any manner in connection with the distribution,

            marketing, advertising, offering for sale, or sale of any product that is not a genuine

            Plaintiff Product or is not authorized by Plaintiff to be sold in connection with the Mark;




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       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           Plaintiff Product or any other product produced by Plaintiff that is not Plaintiff’s or is

           not produced under the authorization, control, or supervision of Plaintiff and approved

           by Plaintiff for sale under the Mark;

       c. committing any acts calculated to cause consumers to believe that Defendants’

           Infringing Products are those sold under the authorization, control, or supervision of

           Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

       d. further infringing the Mark or Plaintiff Works, and damaging Plaintiff’s goodwill; and

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

           offered for sale, and which bear any of Plaintiff’s trademarks, including the Mark, or any

           reproductions, counterfeit copies, or colorable imitations thereof, or any reproductions,

           counterfeit copies, or colorable imitations thereof, or the Plaintiff Works or artifacts or

           derivative works thereof;

       f. operating and/or hosting websites which are involved with the distribution, marketing,

           advertising, offering for sale, or sale products or inventory not authorized by Plaintiff

           which bear the Mark, or the reproduction or display of the Plaintiff Works;

2) That Defendants account for and pay to Plaintiff all profits realized by Defendants by reason of

   Defendants’ unlawful acts herein alleged, and that the amount of damages for infringement of

   the Mark be increased by a sum not exceeding three times the amount thereof as provided by 15

   U.S.C. § 1117;

3) That Plaintiff be awarded statutory damages for willful trademark counterfeiting pursuant to 15

   U.S.C. § 1117(c)(2) of $2,000,000 for each and every unauthorized use of the Mark;



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4) The Plaintiff be awarded judgment against Defendants that they have: (i) willfully infringed

   Plaintiff’s rights in the Plaintiff Works copyright pursuant to 17 U.S.C. § 501; and (ii) otherwise

   injured the business reputation and business of Plaintiff by Defendants’ acts and conduct set

   forth in this Complaint.

5) That Plaintiff be awarded actual damages or other available damages pursuant to 17 U.S.C. §

   504, at the election of Plaintiff, in an amount to be determined at trial;

6) That Plaintiff be awarded statutory damages pursuant to 17 U.S.C. § 1203(c)(3)(B) of $25,000 for

   each violation of 17 U.S.C. § 1202.

7) That Plaintiff be awarded its reasonable attorneys’ fees and costs as available under 15 U.S.C. §

   1117, 17 U.S.C. § 1203(b)(5), 815 ILCS § 510/3, and/o other applicable law; and

8) The Plaintiff be awarded any and all other relief that this Court deems just and proper.

Dated September 24, 2023

                                                                Respectfully Submitted

                                                                /s/Adam E. Urbanczyk
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                                                                Brian Swift
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